

Matter of Attorneys In Violation of Judiciary Law § 468-a. (Epstein) (2019 NY Slip Op 06137)





Matter of Attorneys In Violation of Judiciary Law § 468-a. (Epstein)


2019 NY Slip Op 06137


Decided on August 8, 2019


Appellate Division, Third Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: August 8, 2019


[*1]In the Matter of ATTORNEYS IN VIOLATION OF JUDICIARY LAW § 468-a. 
ATTORNEY GRIEVANCE COMMITTEE FOR THE THIRD JUDICIAL DEPARTMENT, Petitioner; DEBORAH LYNN EPSTEIN, Respondent. (Attorney Registration No. 2288520)

Calendar Date: July 22, 2019

Before: Garry, P.J., Egan Jr., Clark, Devine and Pritzker, JJ.


Monica A. Duffy, Attorney Grievance Committee for the Third Judicial Department, Albany, for petitioner.
Deborah Lynn Epstein, Washington, DC, respondent pro se.



MEMORANDUM AND ORDER
Motion by respondent for an order reinstating her to the practice of law following her suspension by May 2019 order of this Court (Matter of Attorneys in Violation of Judiciary Law § 468-a, 172 AD3d 1706 [2019]; see Rules for Attorney Disciplinary Matters [22 NYCRR] § 1240.16; Rules of App Div, 3d Dept [22 NYCRR] § 806.16).
	Upon reading respondent's notice of motion and affidavit with exhibits sworn to June 14, 2019, and upon reading the correspondence in response by the Attorney Grievance Committee for the Third Judicial Department dated July 18, 2019, and having determined, by clear and convincing evidence, that (1) respondent has complied with the order of suspension and the Rules of this Court, (2) respondent has the requisite character and fitness to practice law, and (3) it would be in the public interest to reinstate respondent to the practice of law (see Matter of Attorneys in Violation of Judiciary Law § 468-a [Serbinowski], 164 AD3d 1049, 1050 [2018]; Matter of Attorneys in Violation of Judiciary Law § 468—a [Squires], 153 AD3d 1511, 1513 [2017]), it is

ORDERED that respondent's motion for reinstatement is granted; and it is further
ORDERED that respondent is reinstated as an attorney and counselor-at-law, effectively immediately.
Garry, P.J., Egan Jr., Clark, Devine and Pritzker, JJ., concur.








